Case 2:23-cv-10178-DMG-KES Document 18 Filed 03/12/24 Page1of1 Page ID #:70

UNITED STATES DISTRICT COURT JS-6
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES—GENERAL
Case No. LA CV 23-10178-DMG (KESx) Date March 12, 2024
Title Colton Bryant v. Siam Wala Inc., et al. Page lofl

Present: The Honorable DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

KELLY DAVIS NOT REPORTED
Deputy Clerk Court Reporter
Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: INCHAMBERS—ORDER AND NOTICE TO ALL PARTIES

In light of the Notice of Settlement filed on March 11, 2024, [17], indicating that the case
has settled in its entirety and that the parties are finalizing their written settlement agreement, this
action is placed in inactive status. By April 11, 2024, the parties shall file either (1) a stipulation
and proposed order for dismissal of the action or judgment, or (2) a motion to reopen if settlement
has not been consummated. Upon the failure to timely comply with this Order, this action shall
be deemed dismissed as of April 12, 2024.

This Court retains full jurisdiction over this action and this Order shall not prejudice any
party to this action. All other scheduled dates and deadlines are hereby VACATED.

IT IS SO ORDERED.

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk KD
